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                                                                         FILED IN CHAMBERS
                                                                            U.S.D.C. Atlanta


                                                                           JUN     7 2022

                 IN THE UNITED ST ATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED ST ATES OF AMERICA

         V.                                  Criminal Indictment

   DION MARQUISE HA YES                      No.
                                                     0
                                                                                   2 7
THE GRAND JURY CHARGES THAT:


   On or about April 12, 2022, in the Northern District of Georgia and elsewhere,
the defendant, DION MARQUISE HAYES, having been released pursuant to
Chapter 207 of Title 18, United States Code, while awaiting surrender for service
of sentence after revocation of a probationary sentence following his conviction,
in the United States District Court for the Northern District of Georgia, of the
offense of possessing a firearm while being a convicted felon, in violation of Title
18, United States Code, Section 922(g)(1), and having been directed by the court
to surrender to the Bureau of Prisons at the McDowell Federal Correctional
Institution in Welch, West Virginia, did knowingly and willfully fail to surrender
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for service of sentence as ordered by the court, all in violation of Title 18, United

States Code, Section 3146(a)(2).


                                                                                BILL




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